                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION

 LIGURIA FOODS, INC.,

                                                          No. C14-3041-MWB
               Plaintiff,
 vs.
                                                     ORDER REGARDING
 GRIFFITH LABORATORIES, INC.                      DEFENDANT’S MOTION TO
                                                 EXTEND TIME TO FILE REPLY
               Defendant.
                            ___________________________

        This case is before me on defendant Griffith Laboratories, Inc.’s Motion To Extend
The Deadline To Reply To Plaintiff’s Resistance of Defendant’s Motion For Summary
Judgment (docket no. 78). Defendant Griffith Laboratories, Inc represents that plaintiff
does not resist its request for an extension. Defendant Griffith Laboratories, Inc.’s motion
is granted and it shall file its reply to Plaintiff’s Resistance of Defendant’s Motion For
Summary Judgment on or before December 2, 2016.
        IT IS SO ORDERED.
        DATED this 23rd day of November, 2016.



                                          ______________________________________
                                          MARK W. BENNETT
                                          U.S. DISTRICT COURT JUDGE
                                          NORTHERN DISTRICT OF IOWA




       Case 3:14-cv-03041-MWB-CJW Document 80 Filed 11/23/16 Page 1 of 1
